        Case 1:17-cv-01137-JB-KK Document 1 Filed 11/14/17 Page 1 of 19



                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW MEXICO
O CENTRO ESPIRITA BENEFICENTE UNIÃO            )
DO VEGETAL IN THE U.S., JOSE CARLOS            )
GARCIA, DANIELLE HOUNSELL SILVA                )
GARCIA, and J.H.S.G., a minor,                 )
                                               )
       Plaintiffs,                             )
                                               ) No. 17-cv-1137
       vs.                                     )
                                               )
ELAINE DUKE, Acting U.S. Secretary of          )
Homeland Security; L. FRANCIS CISSNA,          )
Director of U.S. Citizenship and Immigration   )
Services; KATHY BARAN, Director of             )
U.S. Citizenship and Immigration Services      )
California Service Center; U. S. CITIZENSHIP   )
AND IMMIGRATION SERVICES, an agency of )
the United States; in their official capacity, )
UNITED STATES OF AMERICA                       )
                                               )
       Defendants,                             )
__________________________________________)

            COMPLAINT FOR DECLARATORY JUDGMENT, INJUNCTIVE
                     RELIEF, AND WRIT OF MANDAMUS


       1.      The United States continues to impinge on Plaintiffs’ fundamental right to

practice their religion guaranteed to them by the First Amendment to the U.S. Constitution and

by statute. This is not the first time. Plaintiff O Centro Espiríta Beneficente União do Vegetal

(UDV) was the subject of the Supreme Court decision in Gonzales v. O Centro Espirita

Beneficente Uniao do Vegetal, 546 U.S. 418 (2006). In that case, the Supreme Court held that the

Government failed to demonstrate a compelling interest in barring UDV’s sacramental use of

hoasca tea (which contains a controlled substance). In the current case, Defendants have issued a

decision denying UDV’s petition for a religious visa for Plaintiff Jose Carlos Garcia based on a

regulation that requires UDV to do something that is diametrically opposed to another firmly

held belief which is non-compensation of its ministers.


                                                1
         Case 1:17-cv-01137-JB-KK Document 1 Filed 11/14/17 Page 2 of 19




       2.      The petition that was denied was not the first one filed by UDV for Mr. Garcia. It

had previously filed two other identical petitions for the same minister. Both of the previous

petitions were approved after much resistance by Defendants1. In the previous petitions, UDV

requested, and it appears to have been granted, an exemption under the Religious Freedom and

Restoration Act of 1993 (RFRA) § 3, 42 USC § 2000bb-1(2006) although its position is that the

regulation in question is ultra vires. The same exemption was requested in the instant petition.

Defendants denied. Exhibit 1, Denial Decision. This denial clearly shows religious and political

animus. With this decision, Defendants have shown that they will likely deny another immigrant

visa petition filed by UDV for Plaintiff Jose Carlos Garcia which is currently pending and is

being unreasonably delayed by Defendants. As a result, the Plaintiffs’ plea to this Court is

twofold: 1. that it declare the decision denying the religious visa petition illegal and order

Defendants to vacate the denial and grant the petition; and 2. that it order Defendants to

immediately adjudicate the delayed immigrant visa petition.

       3.      The denial of the visa petition has placed the individual Plaintiffs out of status and

is continuing to cause injury to them. This injury, if continued unabated, will cause Plaintiffs

irreparable harm thus greatly impinging on the practice of their religion. As a result, Plaintiffs

are concurrently filing a motion for a Temporary Restraining Order and/or Preliminary

Injunction.

                                 JURISDICTION AND VENUE

       4. This Court has jurisdiction over this action pursuant to 28 U.S.C. §§ 1331 and 1651,

as a civil action arising under the Constitution, laws, or treaties of the United States (Federal

1
  The previous petitions were heavily resisted by Defendants with notices of intent to deny issued
on both. A notice of intent to deny was also issued in the currently pending I-360 petition. Their
inference that the agency thus must have made an inadvertent mistake in the two previous
petitions is completely unfounded.
                                                  2
         Case 1:17-cv-01137-JB-KK Document 1 Filed 11/14/17 Page 3 of 19




question), 28 U.S.C. § 1361, as an action to compel an officer or employee of the United States

to perform a duty owed to Plaintiffs (Mandamus), 28 U.S.C. §§ 2201-02 (declaratory relief); the

Administrative Procedure Act (APA), 5 U.S.C. §§ 701 et seq., as an action to compel agency

action unlawfully withheld and to hold unlawful and set aside agency action, findings, and

conclusions found to be-- (A) arbitrary, capricious, an abuse of discretion, or otherwise not in

accordance with law; (B) contrary to constitutional right, power, privilege, or immunity; (C) in

excess of statutory jurisdiction, authority, or limitations, or short of statutory right; [or] (D)

without observance of procedure required by law and the Immigration & Nationality Act (INA)

and regulations implementing it (Title 8 of the C.F.R.).

        5. Plaintiffs have standing to assert relief in this action. 5 U.S.C. § 702; see also, Lujan

v. Defenders of Wildlife, 504 U.S. 555, 560-61 (1992) (quoting Whitmore v. Arkansas, 495 U.S.

149, 155 (1990)).

        6.      Venue is proper in New Mexico pursuant to 28 U.S.C. §1391(e)(1)(C). Plaintiffs

sue the Defendants in their official capacities as officers and employees of the United States.

Plaintiff UDV is headquartered in Santa Fe, NM, in the District of New Mexico. Venue is also

proper under 5 U.S.C. § 703.

        7. Jurisdiction is also conferred pursuant to 5 U.S.C. §§ 555(b) and 702, the

Administrative Procedure Act (“APA”). The APA requires USCIS to carry out its duties

within a reasonable time. 5 U.S.C. § 555(b) provides that “[w]ith due regard for the

convenience and necessity of the parties or their representatives and within a reasonable

time, each agency shall proceed to conclude a matter presented to it.” (Emphasis added).

USCIS is subject to 5 U.S.C. § 555(b). See Trudeau v. FTC, 456 F.3d 178, 185 (D.C. Cir.

2006) (finding that district court has jurisdiction under the APA, in conjunction with 28 U.S.C.


                                                   3
           Case 1:17-cv-01137-JB-KK Document 1 Filed 11/14/17 Page 4 of 19




§ 1331, to review plaintiff’s complaint for declaratory and injunctive relief against federal

agency).

       8. 8 U.S.C. § 1252, does not deprive this Court of jurisdiction. 8 U.S.C. § 1252(a)(5)

provides that “a petition for review filed with an appropriate court of appeals in accordance with

this section, shall be the sole and exclusive means for judicial review of an order of removal

entered or issued under any provision of this Act[.]” As the present action does not seek

review of a removal order, but is simply an action to compel USCIS to right one erroneous

decision and to adjudicate Plaintiffs’ other petition that is unreasonably delayed, this Court

retains original mandamus jurisdiction under 28 U.S.C. § 1361. Aguilar-Aguilar v. Napolitano,

700 F.3d 1238, 1243 (10th Cir. 2012); Hamilton v. Gonzales, 485 F.3d 564, 565–66 (10th

Cir.2007); Uanreroro v. Gonzales, 443 F.3d 1197, 1203 (10th Cir.2006) (“We have general

jurisdiction to review only a final order of removal.”); Abiodun v. Gonzales, 461 F.3d 1210, 1217

(10th Cir.2006); Tsegay v. Ashcroft, 386 F.3d 1347, 1353 (10th Cir.2004) (§ 1252 (a)(1) did not

confer appellate jurisdiction over procedural challenge to BIA's decision affirming immigration

judge's denial of an asylum application).

       9. Furthermore, 8 U.S.C. § 1252(a)(2)(B) provides that no court shall have jurisdiction

to review either (i) “any judgment regarding the granting of” various forms of relief from

removal, or (ii) “any other decision or action of the Attorney General or the Secretary of

Homeland Security the authority for which is specified … to be in the discretion of the

Attorney General or the Secretary of Homeland Security[.]” Because adjudication of a

properly filed visa petition is neither a judgment regarding the granting of relief from

removal nor a decision or action that is specified to be in the discretion of the Attorney General

or the Secretary of Homeland Security, the Court retains original mandamus jurisdiction over


                                                4
        Case 1:17-cv-01137-JB-KK Document 1 Filed 11/14/17 Page 5 of 19




this claim. See Liu v. Novak, 509 F. Supp. 2d 1, 5 (D.D.C. 2007) (holding that “the Court

does have jurisdiction over plaintiff‟s APA claim that defendants have unreasonably delayed

adjudicating his application” for adjustment of status); Villa v. U.S. Dep't of Homeland Sec.,

607 F. Supp. 2d 359, 366 (N.D.N.Y. 2009) (“[T]he Defendant has the discretionary power to

grant or deny applications, but it does not have the discretion as to whether or not to decide at

all.”); Aslam v. Mukasey, 531 F. Supp. 2d 736, 739 (E.D. Va. 2008) (“[T]he Court retains

jurisdiction under the APA to determine whether the Secretary [of Homeland Security] has

unlawfully delayed or withheld final adjudication of a status adjustment application.”). As to

the unadjudicated immigrant visa petition in this case, numerous federal district courts have

ruled that adjudication of a properly filed application or petition, including completion of all

necessary background checks, is a purely ministerial, non-discretionary act which the

Government is under obligation to perform in a timely manner. See, e.g., Shahid Khan v.

Scharfen, 2009 U.S. Dist. LEXIS 28948 (N.D. Cal. Apr. 6, 2009); Nigmadzhanov v. Mueller,

550 F. Supp. 2d 540 (S.D.N.Y. 2008); Jones v. Gonzales, Slip Copy, 2007 U.S. Dist. LEXIS

45012 (S.D. Fla. June 21, 2007) (“[N]o agency responsible for resolving matters of public

interest should be free to let those matters pend in perpetuity; otherwise would be to relieve

the agency of its Congressionally-mandated duty to the public.”).

                    EXHAUSTION OF ADMINISTRATIVE REMEDIES

       10. No exhaustion requirements apply to the Plaintiffs’ complaint. Plaintiffs have no

other adequate remedy available for the harms they seek to redress – both as to the denial of

the nonimmigrant visa petition and as to the unreasonable delay of the immigrant visa petition.

       11. This matter is subject to 5 U.S.C. § 704. By denying Plaintiffs’ nonimmigrant visa

petition, the USCIS has concluded a “final agency action for which there is no other adequate


                                                 5
        Case 1:17-cv-01137-JB-KK Document 1 Filed 11/14/17 Page 6 of 19




remedy in a court.” 5 U.S.C. § 704. Agency action in this instance is final agency action.

Accordingly, Plaintiffs have exhausted all necessary administrative remedies that may exist. See

Darby v. Cisneros, 509 U.S. 137 (1993). 5 U.S.C. § 701 et. seq. (APA) provides a waiver of

sovereign immunity.

       12. This action was brought under the APA which provides for review of final agency

decisions. The U.S. Supreme Court in Darby v. Cisneros, 509 U.S. 137 (1993) held that for

actions brought under the APA exhaustion of administrative remedies is required only when

expressly required by statute or agency rule. Id. at 154. (Emphasis in original). Thus when

administrative remedies are made permissive but not mandatory, one does not have to exhaust

them before seeking review in District Court. In this case, there is no express statutory or

regulatory requirement that an administrative appeal of the decision of CIS to deny Plaintiff’s

application must be taken. The decision itself (Exhibit 1) states, “If you disagree with this

decision, you may appeal to the Administrative Appeals Office.” (Emphasis added). Even if

exhaustion of administrative remedies were found to be required, this exhaustion would be futile

and inadequate.

       13. In Darby the Supreme Court held that courts have discretion to require exhaustion of

remedies, but only for cases not governed by the APA. Id. at 154. For cases under the APA

courts do not have discretion to require exhaustion of remedies if not expressly mandated by

statute. In the present case there are no mandatory administrative appeals that need to be

followed.

       14. Even if exhaustion were required, exhaustion would be inadequate and futile. A

permissive administrative appeal takes approximately 6 months on average. By that time the

individual Plaintiffs would have left the United States to avoid severe immigration penalties.


                                                 6
           Case 1:17-cv-01137-JB-KK Document 1 Filed 11/14/17 Page 7 of 19




The Church would be left without a minister and all the congregations in the United States would

be left without the overseeing advisor that has been appointed by Church leaders.

                                            PARTIES

       15. Plaintiff UDV is a New Mexico corporation and a nonprofit religious organization

duly recognized by both the IRS and the United States Supreme Court. UDV is a Christian

Spiritist religion that originated in Brazil and is now practiced by close to 20,000 people in 11

countries. The UDV has received numerous civic awards for its community and environmental

service.

       16. Plaintiff Jose Carlos Garcia is a minister of UDV. He holds a high position in the

organization, akin to a Cardinal of the Catholic Church. Plaintiff Garcia has been leading the

Church’s Florida congregation since 2013 and remains part of an administrative counsel that

oversees all the other congregations in the United States. He has been granted R-1 nonimmigrant

religious worker status twice before by Defendants under identical circumstances. He has been a

member and leader in the organization for decades. He is the beneficiary of the R-1 visa petition

which was denied and of the I-360 immigrant visa petition is has been unreasonably delayed by

Defendants.

       17. Plaintiff Danielle Hounsell Silva Garcia is Plaintiff Jose Carlos Garcia’s spouse and

therefore the derivative beneficiary of the visa petition filed by Plaintiff UDV. Ms. Silva Garcia

had concurrently filed an application for extension of status which was also denied as it is wholly

dependent on the UDV visa petition which was denied. See Exhibit 2, I-539 Denial Decision.

She is also a derivative beneficiary of the I-360 visa petition which has been unreasonably

delayed by Defendants.




                                                 7
         Case 1:17-cv-01137-JB-KK Document 1 Filed 11/14/17 Page 8 of 19




       18. Plaintiff J.H.S.G. is Plaintiff Jose Carlos Garcia’s minor son and therefore the

derivative beneficiary of the visa petition filed by Plaintiff UDV. Plaintiff J.H.S.G. had

concurrently filed an application for extension of status which was also denied as it is wholly

dependent on the UDV visa petition which was denied. See Exhibit 2, I-539 Denial Decision.

He is also a derivative beneficiary of the I-360 visa petition which has been unreasonably

delayed by Defendants.

       19. Defendant Elaine Duke is the Acting Secretary of the Department of Homeland

Security (DHS), and as such is charged by statute with the administration and enforcement of the

Immigration and Nationality Act and all other laws relating to the immigration and naturalization

of aliens. She is sued in her official capacity only.

       20. Defendant L. Francis Cissna is the Director of United States Citizenship and

Immigration Services (USCIS) of the DHS and as such is charged with the administration and

enforcement of the Immigration and Nationality Act and all other laws relating to the

immigration and naturalization of aliens pursuant to a delegation of authority from the Secretary

of Homeland Security of the United States under 8 U.S.C. § 1103(a). He is sued in his official

capacity only.

       21. Defendant Kathy Baran is the Director of United States Citizenship and Immigration

Services California Service Center which rendered the denial decision in question. She is

charged with the administration and enforcement of the Immigration and Nationality Act and all

other laws relating to the immigration and naturalization of aliens pursuant to a delegation of

authority from the Secretary of Homeland Security of the United States under 8 U.S.C. §

1103(a). She is sued in her official capacity only.




                                                  8
           Case 1:17-cv-01137-JB-KK Document 1 Filed 11/14/17 Page 9 of 19




       22. United States Citizenship and Immigration Services (USCIS) is an agency of the

United States in charge of reviewing and deciding visa petitions such as Plaintiffs’.

       23. Defendants are agents of, and collectively represent the United States of America and

are bound by positions taken by other agents and representatives of the United States.

                                    LEGAL FRAMEWORK

       24. 8 U.S.C. § 1101(a)(15)(R) provides the statutory authority for the R visa used by

nonprofit, religious organizations to allow their ministers to serve their flocks. It provides as

follows:

       (R) an alien, and the spouse and children of the alien if accompanying or
       following to join the alien, who—
       (i) for the 2 years immediately preceding the time of application for admission,
       has been a member of a religious denomination having a bona fide nonprofit,
       religious organization in the United States; and
       (ii) seeks to enter the United States for a period not to exceed 5 years to perform
       the work described in subclause (I), (II), or (III) of paragraph (27)(C)(ii);

       25. In turn, subclause (I) of § 1101(a)(27)(C)(ii), the relevant one here, provides as

follows: “seeks to enter the United States—(I) solely for the purpose of carrying on the vocation

of a minister of that religious denomination.”

       26. The regulations implementing the statute however, require that a petitioning

organization either compensate the minister (salaried or otherwise), or show that it has an

established missionary program where ministers are self-supporting. 8 C.F.R. 214.2(r)(11). The

way the regulation is written only self-support in the established missionary program context is

permissible. Any self-support for a minister that is not a part of an established missionary

program is not allowed. The regulation regarding missionaries has very detailed requirements of

what fits the mold established by the Agency. There is no support for this compensation

requirement in the statute and it is completely ultra vires. The only potential support is the


                                                  9
        Case 1:17-cv-01137-JB-KK Document 1 Filed 11/14/17 Page 10 of 19




requirement that the minister come to the U.S. solely to provide religious services, which the

Agency has extrapolated to mean that if one is not compensated, one must be obligated to work

elsewhere and therefore not be in the United States to “solely” be a minister. Defendants fail to

take into account that many ministers are self-supporting either by their own means or through

the sending organization even though they may not be involved in a “missionary program.” Even

if this is the statutory support or justification for the regulation, it does not explain the narrowing

of self-supporting ministers to missionaries only.

       27. Even for those organizations that have established missionary programs that comply

with the regulation in question, for the organization to petition for a self-supporting missionary,

one of the requirements is that the organization has previously been granted R-1 visas for other

religious workers, meaning a compensated religious worker. 8 C.F.R. § 214.2(r)(11)(ii)(B)(1).

Based on this regulation, organizations that have non-compensation of ministers as a central

tenet of their faith are never able to obtain R-1 visas for their ministers regardless of whether

they have a missionary program. This would unquestionably constitute a substantial burden,

under the meaning of the Religious Freedom Restoration Act, as applied to that religious

practice.

       28. The above cited regulation provides a governmental burden and restriction in this

religious organization’s right to choose its ministers (aliens vs. United States citizens) and what

religious tenets it holds. This regulation, if applied, would essentially force the Church to change

its religious beliefs concerning compensation and start paying its ministers a salary or else never

be able to apply for R-1 visas. This is a clear governmental directive to this particular Church to

change what they believe in in order to obtain an R-1 visa and this constitutes an unjustifiable




                                                  10
        Case 1:17-cv-01137-JB-KK Document 1 Filed 11/14/17 Page 11 of 19




burden on religious conduct in violation of the 1st Amendment to The United States Constitution

and Federal law.

       29. Even if the regulation is not found to be ultra vires, it still places a burden on religious

activity under the Religious Freedom and Restoration Act of 1993 (RFRA). RFRA § 3, 42 USC

§ 2000bb-1(2006), provides as follows:

       “Free exercise of religion protected

       (a) In general. Government shall not substantially burden a person’s exercise of
       religion even if the burden results from a rule of general applicability, except as
       provided in subsection (b) of this section.
       (b) Exception. Government may substantially burden a person’s exercise of
       religion only if it demonstrates that application of the burden to the person—
               (1) is in furtherance of a compelling governmental interest; and
               (2) is the least restrictive means of furthering that compelling
               governmental interest


       30. This Court, the 10th Circuit Court of Appeals and the United States Supreme Court

have already held that RFRA applies to the religious activities of this particular Church. In

Gonzales v. O Centro Espirita Beneficente Uniao do Vegetal, 546 U.S. 418 (2006), the Supreme

Court held that the Petitioner’s religious freedom was burdened by the U.S. government

confiscating a tea that the Church used for religious purposes, but which the United States

deemed a controlled substance. This case is on point as it deals with the same Church as the

instant petition, and it deals with RFRA and the Church’s religious rights and the freedom to

exercise those rights.

       31. By de facto prohibiting the Church from ever bringing in religious workers under R-1

status, this regulation would impinge on the Church’s right to choose its clergy and religious

workers, which is an essential element of its religious exercise. See Petruska v. Gannon

University, 462 F.3d 294, 306 (3rd Cir. 2006) (“A minister serves as the church’s public


                                                 11
        Case 1:17-cv-01137-JB-KK Document 1 Filed 11/14/17 Page 12 of 19




representative, its ambassador, and its voice to the faithful. Accordingly, the process of selecting

a minister is per se a religious exercise.”); McClure v. Salvation Army, 460 F.2d 553, 559 (5th

Cir. 1972) (“The minister is the chief instrument by which the church seeks to fulfill its

purpose.”). Additionally, if would impinge on the Church’s exercise of religion by directing it

that it should pay its ministers a salary when the Church firmly believes (and holds as a central

tenet of its practice) that it must not.

        32. For USCIS to apply this regulation to deny this petition, it must show that it is exempt

under section 3(b) of RFRA. To deny this petition, USCIS must show that the regulation, and the

denial of this petition under it, is in the furtherance of a compelling governmental interest, and

that this regulation is the least restrictive means of furthering that compelling government

interest as applied to this person. This simply cannot be shown in this case. In the previously

case the United States arguably had a more compelling interest in regulating the use of the tea as

it contained a controlled substance. In the present case, the United States’ conduct is even more

egregious since there is absolutely no compelling interest in applying the instant regulation when

Plaintiffs have clearly shown that the minister is self-supporting and will not be seeking secular

employment.

        33. Furthermore, RFRA provides a remedy to those whose religious freedom is burdened

by government, including the Petitioner in this matter. The remedy is to request a specific

exemption from the burdensome regulation. When the current religious worker visa regulations

were passed in 2008, the public widely expressed concerns that RFRA would be violated by the

newly passed religious worker regulations. In the final regulation, on page 72283 of volume 73

of the Federal Register, USCIS states:




                                                 12
        Case 1:17-cv-01137-JB-KK Document 1 Filed 11/14/17 Page 13 of 19




       “An organization or individual who believes that the RFRA may require specific
       relief from any provision of this regulation may assert such a claim at the time
       they petition for benefits under the regulation.

       34. The simple fact that RFRA was specifically addressed in the preamble to the

regulations is further evidence that RFRA applies in this context, and that RFRA is a law that

covers and affects all other federal laws, even those that are of general application.

       35. The final regulation preamble also stated:

       “Nor does this final rule impose a ‘categorical bar’ to any religious
       organization’s petition for a visa or alien’s application for admission.

       36. From this statement, it is clear that USCIS did not contemplate a scenario, such as

that of the present Plaintiff, in which the final rule, applied in its entirety, would impose a

categorical bar on R-1 petitions.

       37. Similarly to the denied R-1 visa petition, I-360 Immigrant Visa Religious Worker

petitions also have a compensation requirement. 8 C.F.R. § 204.5(m)(2) provides as follows:

       […]Be coming to the United States to work in a full time (average of at least 35
       hours per week) compensated position in one of the following occupations as they
       are defined in paragraph (m)(5) of this section.

       (Emphasis added).

       38. The same legal framework as above applies to this regulation as well including the

RFRA exemption.


                      FACTUAL AND PROCEDURAL BACKGROUND

       39. Plaintiff UDV filed an I-129 nonimmigrant R-1 visa petition for Jose Carlos Garcia

on 12/16/2001. On 4/5/2012, Defendant USCIS issued a request for evidence (RFE). A

response was sent on 6/19/2012. A notice of intent to deny (NOID) was issued by Defendant

USCIS on 7/31/2012. A response was filed on 8/28/2012. In the RFE and NOID, Defendant


                                                  13
        Case 1:17-cv-01137-JB-KK Document 1 Filed 11/14/17 Page 14 of 19




USCIS raised largely the compensation issue. Plaintiff UDV requested an exemption under

RFRA. The petition was approved on 11/27/2012. Plaintiff Garcia was admitted to the United

States in R-1 status on 3/26/2013.

       40. On 12/3/2014, Plaintiff UDV filed a second I-129 nonimmigrant visa petition for

Plaintiff Garcia. On 1/16/2015 an RFE was issued by Defendant USCIS. A response was filed

on 4/3/2015. A NOID was issued by Defendant USCIS on 10/15/2015. Defendant USCIS again

raised the same compensation issue. A response was filed on 10/26/2015 and an exemption was

again sought by Plaintiff UDV under RFRA. The petition was approved on 12/16/2015.

       41. On 7/1/2017, Plaintiff UDV filed an I-360 immigrant visa petition for Plaintiff

Garcia. A NOID was issued by Defendant USCIS on 7/31/2017. Again, the compensation issue

was raised. A response was sent on 8/31/2017. This petition is currently pending.

       42. USCIS published processing times state that I-360 petitions are approved within 90

days of filing. See Exhibit 3. As of the date of the filing of this complaint the petition is delayed

by over 2 months or 66% longer than expected.

       43. Plaintiff UDV filed a third R-1 visa petition for Plaintiff Garcia on 7/10/2017. An

RFE was issued on 9/11/2017. Unsurprisingly, the compensation issue was raised again by

Defendant USCIS. What was surprising is that for the first time Defendant USCIS raised a new

issue, namely the allegation that Plaintiff Garcia is a drug abuser because of the use of the

sacramental Hoasca tea which contains a controlled substance. A response was filed on

10/17/2017 and a RFRA exemption was again sought by Plaintiff UDV as to both the

compensation issue and use of the sacramental tea. Defendant USCIS denied the petition on

10/31/2017 based solely on the compensation issue. Exhibit 1.




                                                 14
          Case 1:17-cv-01137-JB-KK Document 1 Filed 11/14/17 Page 15 of 19




          44. In every single filing and in every response to the Defendants’ repeated raising of the

compensation issue, Plaintiff Garcia has clearly shown that he has substantial assets and income

unrelated to his Church activities and therefore has not and will not engage in secular

employment.

          45. The individual plaintiffs are now left without status in the United States. If this Court

does not provide immediate relief they will be forced to leave the United States and the UDV

Church will be left without their minister or the oversight Mr. Garcia provided to all the United

States congregations.

          46. Plaintiff Garcia and his family are accruing unlawful presence in the United States. If

they accrue more than 180 days of unlawful presence they will be barred for 3 years from

entering the United States upon departure. 8 U.S.C. § 1182(a)(9)(B).

          47. Plaintiff Garcia and Plaintiff Silva Garcia are unable to renew their Florida driver’s

licenses in the absence of status and therefore are extremely hindered in their daily activities.

They are now living in limbo with the possibility of departing the United States at a moment’s

notice.

          48. Contrary to what Defendant USCIS states in its denial decision, Mr. Garcia is eligible

for R-1 status until 11/6/2018. He has been in the United States in R-1 status from 3/26/2013 to

4/24/2013, 6/22/2013 to 7/30/2013, 9/18/2013 to 10/23/2013, 12/14/2013 to 6/6/2016 and

8/10/2016 to present2. A person in R-1 status is entitled to 5 years in the aggregate. Therefore

Plaintiff Garcia and his family are eligible until November 6, 2018 or approximately one more

year in R-1 status.


2
 Mr. Garcia’s wife and son have been in the United States even less than he has, however they
can only obtain R-2 status for as long Mr. Garcia can, therefore for all intents and purposes, they
are all eligible until approximately November 6, 2018.
                                                   15
        Case 1:17-cv-01137-JB-KK Document 1 Filed 11/14/17 Page 16 of 19




       49. As stated above, UDV has previously litigated issues relating to their religion against

the United States. Gonzales v. O Centro Espirita Beneficente Uniao do Vegetal, 546 U.S. 418

(2006). Following this litigation, the United States filed a statement of interest in another case

UDV filed against Santa Fe County Commissioners who had denied them a permit to build their

temple. O Centro Espirita Beneficente Uniao do Vegetal v. Board of County Commissioners of

Santa Fe County, 1:12-cv-00105-MV-LFG. (Copy of pleading filed by the United States

attached as Exhibit 4). The United States took the position that a religious organizations choice

of where to build its house of worship is exercise of religion and therefore protected by RFRA.

In the current decision being challenged here, the United States, through its agents, is taking the

position that the choice of minister or what to believe regarding compensation is not exercise of

religion protected by RFRA. This is clearly against the law. See Petruska v. Gannon University,

462 F.3d 294, 306 (3rd Cir. 2006) (“A minister serves as the church’s public representative, its

ambassador, and its voice to the faithful. Accordingly, the process of selecting a minister is per

se a religious exercise.”); McClure v. Salvation Army, 460 F.2d 553, 559 (5th Cir. 1972) (“The

minister is the chief instrument by which the church seeks to fulfill its purpose.”).


                                      CAUSES OF ACTION

                                            COUNT ONE

                                DECLARATORY JUDGMENT

       50. The allegations contained in paragraphs 1 through 44 above are repeated and re-

alleged as though fully set forth herein.

       51. Pursuant to 28 U.S.C. § 2201 et seq. the Court may declare the rights of the parties

and such declaration shall have the force and effect of a final judgment or decree.



                                                 16
           Case 1:17-cv-01137-JB-KK Document 1 Filed 11/14/17 Page 17 of 19




           52. Defendants in this case have reached a decision that is not in accordance with the law.

Said decision has caused and continues to cause harm to Plaintiffs. Therefore issuance of a

declaratory judgment that Defendants’ decision is erroneous and that Plaintiffs’ petition should

be approved is warranted. Furthermore, Defendants have unreasonably delayed Plaintiffs’ I-360

petition. Issuance of a declaratory judgment that their delay is unreasonable and that the petition

should be immediately approved is also warranted.

                                             COUNT TWO

                     VIOLATION OF 5 U.S.C. §§ 702, 704,706 (APA CLAIMS)

           53. The allegations contained in paragraphs 1 through 47 above are repeated and re-

alleged as though fully set forth herein.

           54. Plaintiffs have suffered a “legal wrong” or have been “adversely affected or

aggrieved” by agency action. 5 U.S.C. & 702. Plaintiffs are aggrieved by agency action for

which there is no other adequate remedy in court. 5 U.S.C. § 704.

           55. Defendants’ unreasonable decision to ignore Supreme Court precedent and RFRA is

unlawful and is causing Plaintiffs continued and irreparable harm.

           56. Defendants’ regulation used to deny Plaintiffs is ultra vires as it has no support in the

statute.

           57. The denial is arbitrary, capricious, and exceeds Defendants’ statutory authority. 5

U.S.C. § 706(c)(2).

           58. Defendants have also unreasonably delayed adjudication of Plaintiffs’ I-360 petition.

This is a violation of the APA which mandates that a decision be made in a timely manner.

                                            COUNT THREE

                             RELIEF UNDER THE MANDAMUS ACT


                                                    17
        Case 1:17-cv-01137-JB-KK Document 1 Filed 11/14/17 Page 18 of 19




       59. The allegations contained in paragraphs 1 through 53 above are repeated and re-

alleged as though fully set forth herein.

       60. Plaintiffs have a claim for mandamus relief under 28 U.S.C. § 1361 which provides

the authority to compel the agency to perform a duty owed to Plaintiffs. Defendants have failed

to properly adjudicate Plaintiffs’ petitions in conformity with RFRA and clear and binding

Supreme Court precedent.

                                            COUNT FOUR

                                        JUDICIAL ESTOPPEL

       1. The allegations contained in paragraphs 1 through 53 above are repeated and re-

alleged as though fully set forth herein.

       2. The United States is judicially estopped from taking diametrically opposed positions

in relation to Plaintiff UDV. An order of the court estopping the United States and its agents

from holding a contrary position than their previous position is therefore warranted. New

Hampshire v. Maine, 532 U.S. 742 (2001), Smith v. United Parcel Service, 578 Fed.Appx. 755

(10th Circuit, 2014).


                                     PRAYER FOR RELIEF

       WHEREFORE, in view of the arguments and authority noted herein, Plaintiffs pray that

the Court grant the following relief:

       A. Assume jurisdiction over the matter;

       B. Issue a declaratory judgment holding that Defendants’ denial of the I-129 R-1 petition

is unlawful and contrary to law and that their unreasonable delay in adjudicating the I-360

immigrant visa petition is also contrary to law.



                                                   18
        Case 1:17-cv-01137-JB-KK Document 1 Filed 11/14/17 Page 19 of 19




        C. Order Defendants and those working under them to reverse their decision as to the

denied I-129 petition and the dependents’ I-539 application and immediately approve it, to

immediately adjudicate the pending I-360 petition under the RFRA and Supreme Court

framework laid out above, and to immediately withdraw the ultra vires regulation regarding

compensation.

        D. Enjoin Defendants from taking a diametrically opposed position and to issue and an

order binding Defendants to their earlier position in support of Plaintiffs’ free exercise of

religion.

        E. Award reasonable attorney fees and costs pursuant to the Equal Access to Justice Act,

5 U.S.C. § 504, 28 U.S.C. § 2412 and pursuant to 42 U.S.C. § 1988(b)3, and

        F. Grant any and all further relief this Court deems just and proper.


Dated this 14th day of November 2017.


/s/ Olsi Vrapi.
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  Defendants have previously paid a substantial award of attorney’s fees to Plaintiff UDV in
relation to the Supreme Court litigation. The same rationale for that award of attorney’s fees
applies in this matter.
                                                 19
